       Case 2:18-cv-00858-DWA-LPL Document 34 Filed 07/27/18 Page 1 of 5



                              UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF PENNSYLVANIA

UTAH FOAM PRODUCTS, INC., on behalf of              )
itself and all others similarly situated,           )
                                                    )       Case No. 2:18-cv-00858-LPL
               Plaintiff,                           )
                                                    )
       v.                                           )
                                                    )
BAYER A.G., et al.,                                 )
                                                    )
               Defendants.                          )

    AGREED MOTION TO EXTEND ALL DEADLINES UNTIL AFTER THE JUDICIAL
             PANEL ON MULTIDISTRICT LITIGATION RULES ON
                    PENDING MOTION FOR TRANSFER

       Plaintiff Utah Foam Products, Inc. (“Plaintiff”) and Defendants BASF Corporation,

Bayer Corporation, Covestro LLC, Dow Chemical Company, Huntsman Corporation, Huntsman

International LLC, Mitsui Chemicals America, Inc., MCNS Polyurethanes USA Inc., and

Wanhua Chemical (America) Co., LTD. (collectively, “Moving Defendants,”1 and together with

Plaintiff, the “Movants”), respectfully request that this Court extend all deadlines and stay the

proceedings in this matter until 28 days after the Judicial Panel on Multidistrict Litigation

(“JPML”) rules on Plaintiff’s pending Motion for Transfer and Consolidation of Related Actions

to the Western District of Pennsylvania for Coordinated or Consolidated Pretrial Proceedings.

The Movants state the following in support:

       1.      This case is one of four related putative class actions filed in four different

jurisdictions alleging that the named defendants in those actions, including the Moving

Defendants, entered into an unlawful price-fixing conspiracy with respect to Methylene Diphenyl

Diisocyanate (“MDI”) and Toluene Diisocyanate (“TDI”). The other three actions include: Isaac


1
  The Moving Defendants include the named defendants in this action that have been served with the
Complaint.

                                                1
       Case 2:18-cv-00858-DWA-LPL Document 34 Filed 07/27/18 Page 2 of 5



Indus., Inc. v. BASF Corp., et al., Case No. 18-cv-12089 (E.D. Mich., filed July 3, 2018); C.U.E.,

Inc. v. BASF A.G., et al., Case No. 18-cv-11439 (D.N.J., filed July 6, 2018); and Emma

Chemicals Co., Inc., v. BASF SE, et al., Case No. 18-cv-2958 (E.D. Pa., filed July 16, 2018).

       2.      On July 10, 2018, Plaintiff filed with the JPML a Motion for Transfer and

Consolidation of Related Actions to the Western District of Pennsylvania for Coordinated or

Consolidated Pretrial Proceedings (“Motion for Transfer”). Ex. 1.

       3.      Pursuant to the JPML’s Notice of Filing and Publication Briefing Schedule, all

responses to Plaintiff’s Motion for Transfer must be filed with the JPML on or before August 1,

2018. Ex. 2.

       4.      On July 18, 2018, the plaintiff in the Emma Chemicals case filed with the JPML

an opposition brief requesting that the JPML transfer and consolidate the cases in the Eastern

District of Pennsylvania. Ex. 3.

       5.      The Movants anticipate that the JPML will hear Plaintiff’s pending Motion for

Transfer and Consolidation of Related Actions during the hearing session on September 27,

2018. See JPML Hearing Information, www.jpml.uscourts.gov/hearing-information. The

Movants expect the JPML to issue an order shortly thereafter determining whether the cases will

be centralized and, if so, the court to which they will be transferred.

       6.      In light of Plaintiff’s pending Motion for Transfer, the Movants respectfully

request that this Court extend all deadlines and stay the proceedings with respect to all parties—

including, without limitation, all conferences and hearings, all deadlines for the filing of motions,

briefs, or responsive pleadings, all deadlines to assert defenses under Rule 12(b) of the Federal

Rule of Civil Procedure, and all discovery, including any deadlines for service of discovery or

initial disclosures or for meetings of counsel under Fed. R. Civ. P. 26—until 28 days after the



                                                  2
       Case 2:18-cv-00858-DWA-LPL Document 34 Filed 07/27/18 Page 3 of 5



JPML decides Plaintiff’s Motion for Transfer. The Movants agree that, if discovery proceeds in

another District, or if an answer is provided in another District, the stay in this matter should be

lifted for the limited purpose of allowing the same action to occur in this District.

        7.      It is well settled that “[a] district court has the inherent power to stay its

proceedings.” Rivers v. Walt Disney Co., 980 F. Supp. 1358, 1360 (C.D. Cal. 1997) (quoting

Landis v. North Am. Co., 299 U.S. 248, 254 (1936)). Indeed, courts routinely exercise their

inherent power to stay actions where, as here, motions to transfer and consolidate are pending

before the JPML. See, e.g., Smith v. Life Investors Ins. Co. of Am., 2008 WL 2222325, at *1

(W.D. Pa. May 29, 2008) (granting motion to stay pending JPML ruling on motion to transfer

because “the length of the stay is relatively short, is easily measurable and is directly tied to a

tangible event” and not granting the stay “would contradict the principles underlying multi-

district litigation”); Pennsylvania ex rel. Kane v. McGraw-Hill Cos., Inc., 2013 WL 1397434, at

*4 (M.D. Pa. Apr. 5, 2013) (granting motion to stay while explaining that “[c]ourts

often stay proceedings pending action by the JPML to preserve judicial resources and to ensure

consistency in the disposition of like matters”); Rivers, 980 F. Supp. at 1362 (“[I]t appears that a

majority of courts have concluded that it is often appropriate to stay preliminary pretrial

proceedings while a motion to transfer and consolidate is pending with the MDL Panel.”)

(citations omitted); Ates v. Delta Air Lines, Inc., 2015 WL 5774979, at *4 (E.D. La. Sept. 30,

2015) (granting motion to stay pending JPML ruling on pending motion to consolidate).2

        8.      The Movants agree that the requested extension and a stay of all proceedings until

28 days after the JPML rules on Plaintiff’s Motion for Transfer will further the policies of

2
    See also Multidistrict Litigation Manual, § 3:15 (2018 ed.) (“District courts have . . . readily stayed
proceedings pending a Panel decision”); 15 Wright, Miller, & Cooper, Federal Practice And Procedure
§ 3866.1 (4th ed. 2018) (“[A] transferor court has discretion to stay proceedings pending a decision by the
Panel regarding transfer. This is especially prudent when a stay would further the policies of judicial
economy, efficiency, and consistency that are deeply embodied in the MDL statute.”).

                                                    3
      Case 2:18-cv-00858-DWA-LPL Document 34 Filed 07/27/18 Page 4 of 5



judicial economy, achieve the purpose of 28 U.S.C. § 1407 to promote the just and efficient

administration of the litigation, and will not prejudice any party in this matter. Indeed, staying

the proceedings will allow the transferee court time, following the JPML’s transfer of the related

actions, to consider and then enter an appropriate schedule for all of the coordinated or

consolidated proceedings, without needing to adjust potentially different schedules entered

before transfer by different courts for individual actions.

       WHEREFORE, the Movants respectfully request that this Court enter an Order extending

all deadlines and staying the proceedings with respect all parties in this matter until 28 days after

the JPML rules on Plaintiff’s pending Motion for Transfer.

Dated: July 27, 2018                                  Respectfully submitted,

/s/ David B. Spear                                    /s/ Thomas L. Allen
David B. Spear (PA Bar No. 62133)                     Thomas L. Allen (PA Bar No. 33243)
MINTO LAW GROUP, LLC                                  REED SMITH LLP
Two Gateway Center                                    225 Fifth Avenue
603 Stanwix Street, Suite 2025                        Pittsburgh, PA 15222
Pittsburgh, PA 15222                                  Tel: (412) 288-3066
Tel: (412) 201-5525                                   tallen@reedsmith.com
dspear@mintolaw.com

Counsel for Plaintiff Utah Foam Products, Inc.        Counsel for BASF Corporation and, for
                                                      purposes of this motion only, on behalf of
                                                      the Moving Defendants




                                                  4
       Case 2:18-cv-00858-DWA-LPL Document 34 Filed 07/27/18 Page 5 of 5



                                CERTIFICATE OF SERVICE

        I hereby certify that on July 27, 2018, a copy of the foregoing Agreed Motion to Extend

All Deadlines Until After the Judicial Panel on Multidistrict Litigation Rules on Pending

Motion for Transfer was filed electronically. Service of this filing will be made on all ECF-

registered counsel by operation of the U.S. District Court for the Western District of

Pennsylvania’s electronic filing system.

                                                   /s/ Thomas L. Allen
                                                   Thomas L. Allen




                                               5

729544744
